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                                 UNITED STATES DISTRICT COURT
                              FOR THE EASTERN DISTRICT OF VIRGINIA


SONY MUSIC ENTERTAINMENT, et al.,

         Plaintiffs,

v.
                                                            Case No. 1:18-cv-00950-LO-JFA
COX COMMUNICATIONS, INC., et al.,
                                                            CONTAINS HIGHLY CONFIDENTIAL –
         Defendants.                                        ATTORNEYS’ EYES ONLY
                                                            INFORMATION




                        DECLARATION OF BARBARA FREDERIKSEN-CROSS

            I, Barbara Frederiksen-Cross, hereby declare pursuant to 28 U.S.C. § 1746 that the

     following statements are true and correct to the best of my personal knowledge and belief:

                                                  Introduction

            1.         I am the Director of Litigation Services at JurisLogic LLC. JurisLogic is an

     Oregon corporation that provides consulting services to computer hardware and software

     manufacturers and specializes in performing assessments of computer software and software

     development projects for the legal profession in the United States, Canada, Japan, Singapore, and

     Europe.

            2.         I have been asked by Plaintiffs in this case to provide a technical explanation of

     the function of peer to peer (“P2P”) file distribution, perform an independent assessment of the

     MarkMonitor infringement detection and notification system (“MarkMonitor System”), perform

     an independent assessment of the Audible Magic acoustic fingerprinting technology, and
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 summarize data collected by the MarkMonitor System with respect to the activities of Cox

 subscribers. I have previously produced expert reports in this case dated April 10, 2019 and June

 13, 2019. The observations and conclusions set forth below are based on my own observation

 and use of the relevant technology, as informed by my specialized knowledge, education, and

 expertise as applied to the facts and circumstances in this case. If necessary, I would and could

 competently testify to such observations and conclusions if called as a witness in this matter. I

 submit this declaration in support of Plaintiffs’ Motion for Summary Judgment.

                                            Qualifications

        3.      I have over forty-four years of personal experience as a software developer and

 consultant. My experience includes software design, programming, project management,

 capacity planning, performance tuning, problem diagnosis, and administration of hardware,

 operating systems, application software, and database management systems. I have experience

 working with software platforms and systems used by banks, insurance companies, hospitals,

 and telecommunication providers. I have been trained in forensic analysis of computer software,

 and have led independent testing of software systems using BitTorrent software. I have

 previously qualified as an expert in state and federal courts to testify about the operation of

 computer software and computer systems, including for other matters that involve P2P file

 sharing and systems that monitor P2P file distribution and send notices to ISPs based on the

 activity they detect. A copy of my curriculum vitae is attached hereto as Appendix A.

                                       Materials Considered

        4.      In addition to my background and experience with the relevant computer systems

 and technologies as described above, I base my testimony on data sets, documents, and

 deposition testimony produced in this case. I also have reviewed engineering literature, technical




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 data, and source code produced by MarkMonitor, Audible Magic, and Cox. Documents cited in

 this declaration are provided in conjunction with the Gould declaration. A detailed list of the

 materials I have reviewed and relied upon is included with my expert reports.

         5.      This declaration is geared to a general audience. Though I could discuss Internet,

 P2P, MarkMonitor, and Audible Magic technologies in more precise technical terms, I assume

 that this level of detail is more useful to the Court.

                      Background on Internet and Networking Technology

         6.      A network is a collection of computers and other electronic devices which are

 linked together via communication infrastructure that permits them to exchange data.

         7.      The Internet is a global network of networks that includes billions of devices

 worldwide.

         8.      An Internet Service Provider (“ISP”) is a company that provides its subscribers

 with access to the Internet. The access may be provided via a variety of technologies, including

 dial-up telephone connection, cable modem, wireless connection, or dedicated high speed

 interconnect.

         9.      The electronic devices that make up the Internet communicate using a set of

 communication protocols. One of the most fundamental of these is the Internet Protocol (IP).

 Numerous other protocols are used in Internet communications, and there is a sense in which

 they may be layered on top of one another, roughly analogous to the way envelopes may be

 embedded in other envelopes. These protocols specify how data transmitted between devices

 should be packaged, addressed, organized, and received. The Transmission Control Protocol

 (TCP) is a significant protocol commonly used on top of IP.




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        10.     Part of the IP protocol deals with how messages are exchanged between

 computers using the Internet. This part of the protocol dictates that messages will have a header

 that identifies both the sender and the intended recipient, identifying them by their respective

 Internet Protocol Address (“IP Address”). Electronic devices on the Internet are identified via

 their IP Address. This address may be static (assigned permanently by the ISP to a particular

 subscriber) or dynamic (assigned on a temporary basis by an ISP to a particular subscriber). The

 IP protocol is responsible for transporting the packets, but does not know what application or

 service is responsible for receiving the packets.

        11.     TCP provides the addressing that directs a message to a particular application or

 service. When devices using the TCP protocol exchange information, they use a port number as

 a communications end point in addition to the IP address associated with the underlying IP

 protocol. Each portion of the information exchanged has both a destination and source port

 number as part of the message header. The port number serves to identify the purpose of a

 particular data packet (e.g., to identify the data packet as part of a Web page, email, video call,

 etc.). Slightly more technically, the port number is a means for the packet to reach the proper

 software application on the receiving computer.

        12.     Together the IP address and the port number represent a specific communication

 channel that allows information to flow between a program such as a web browser running on

 one computer and a corresponding program such as a website server that is running on some

 other device on the internet.

                                      Peer to Peer Technology

        13.     A P2P network is a defined as a network where each computer on the network can

 act as both a downloader and an uploader of content directly to the other computers on the



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 network. This is in contrast to a system in which computers upload and download files only to

 and from and central server. A number of different P2P networks have been developed and

 widely used in the last two decades, including the BitTorrent, eDonkey, Ares, and Gnutella P2P

 networks at issue in the above-captioned lawsuit. These networks use distinct protocols that

 operate on top of the TCP protocol described above, which in turn operates on top of the IP

 protocol. P2P networks have different mechanisms for locating, retrieving, and supplying

 content. Individuals install P2P client software onto their computer that allows them, when

 connected to the Internet, to find, download, and upload content using these protocols.

                              BitTorrent Terminology and Function

        14.     The majority of the notices at issue in this litigation relate to activity on the

 BitTorrent network. As a result, I focus on BitTorrent below.

        15.     Before a user downloads content from the BitTorrent network, the user must find

 a “torrent” file associated with the content; these are available from “torrent” websites that

 specialize in their supply. This is accomplished by using a web browser to search sites on the

 Internet for such a torrent file or by going to a known torrent site. These torrent files are so

 named because they typically have the suffix “.torrent.”

        16.     A hash value is an alphanumeric representation of the contents of a file that can

 be treated as a “digital fingerprint.” Hash values are generated using a hash function. BitTorrent

 uses a hash function called SHA-1 that was designed by the United States National Security

 Agency. Hash functions can be used to identify and authenticate a file’s content because two

 files with the same hash value will, to a near certainty, have identical contents. As suggested by

 its origins, the SHA-1 hash was designed to be very secure. If one were to compare the hash




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 values for a billion different files, the odds that any two files would have the same SHA-1 hash

 value are so incredibly low that they are virtually non-existent.

         17.      The torrent file contains two sections: an “announce” section and an “info”

 section. The announce section directs the BitTorrent software to a “tracker,” a server which

 contains IP addresses of BitTorrent users who are distributing pieces of the torrent’s content. As

 used in the context of BitTorrent, a piece refers to a segmented section of the underlying file or

 files being downloaded and distributed. For purposes of this declaration, I will refer to the files

 which are distributed through use of a particular torrent as the torrent’s content. The info section

 contains the names for the file or files of content, the length of those file or files, the length of

 each piece of the content, and the hash value for each piece. The torrent is identified by a hash

 of its info section; this hash consequently is known as the “infohash,” and it plays an important

 role in the BitTorrent system.

         18.      Once a user has downloaded the torrent file and opened it using BitTorrent

 software, the software contacts the tracker and communicates the infohash of the torrent. The

 tracker then directs the user’s software to BitTorrent peers that are distributing content using the

 exact same torrent file, as identified by the infohash. The set of users participating in the

 distribution of the torrent content are called a “swarm.”

         19.      The BitTorrent user’s software then initiates connections with other users in the

 swarm. In this connection, the user initially discovers which pieces of the content are being

 distributed by users participating in the swarm by obtaining “Bitfield data” from other users1.

 Bitfield data is information provided by the peer that shows exactly which pieces of the content




 1
  After the initial bitfield information is obtained, the Peers may also exchange “have” messages to identify
 additional pieces they have downloaded and verified.


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 the peer has downloaded and verified. The BitTorrent software then requests and downloads

 pieces of the content from others in the swarm.

        20.     As described above, as each piece of the content is downloaded, the BitTorrent

 software calculates a SHA-1 hash value of the downloaded piece and compares it to the

 corresponding piece hash value found in the torrent file’s info section. If the values match, the

 BitTorrent software updates its Bitfield data to indicate that it has the full piece. As the user

 downloads pieces from others, verified pieces downloaded are also distributed to other users

 which have requested them.

        21.     The user’s BitTorrent software continues to request and download pieces until it

 has every piece of the content and every piece has been verified by hash. The pieces are then

 reconstituted into the file or files that make up the torrent content.

        22.     The BitTorrent protocol is designed with a “tit for tat” model. This means that

 users are incentivized to distribute content as they are downloading. As soon as a user has a

 piece of a torrent’s content, the user becomes a source for distribution of that piece to other

 users. This means that users who have the BitTorrent software running on their computer will be

 both distributing and downloading content (except the user who has already downloaded all the

 pieces no longer downloads because they already have the complete file). BitTorrent penalizes

 users who do not distribute content, for instance by throttling their download speeds.

 Conversely, BitTorrent rewards peers that are active distributors with preferential speeds.

                                         Other P2P Protocols

        23.     While the specific hash algorithm varies, all of the P2P protocols at issue in this

 litigation use hash value matching to uniquely identify content being distributed on their

 networks and to verify the content was successfully downloaded. The three other P2P protocols



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 at issue in this litigation are overviewed below, highlighting some of their differences from

 BitTorrent.

        24.     Ares is a decentralized P2P network that does not use torrent sites or tracker

 servers. Instead, certain users within the Ares network provide keyword search capabilities.

 These users are called “Super Nodes,” and users can submit queries to these Super Nodes to

 identify peers that are distributing sought content. After the requesting user receives information

 about the peer distributing the sought file, the peer with the file and the requesting user

 communicate directly.

        25.     Gnutella is also a decentralized P2P network that does not use torrent sites or

 tracker servers. Users within the Gnutella network provide indexing and keyword search

 capabilities. These users are called “Ultra Peers.” An Ultra Peer receives search queries from

 users, searches its own index of files, and also forwards the query to other Ultra Peers and certain

 peers to which it is connected. The Ultra Peer sends back the search results to the requesting

 peer, including information about files that match the query and the users distributing those files.

        26.     eDonkey is a P2P protocol that supports both server-based and distributed

 keyword searches for content. In the place of torrent sites and trackers, central eDonkey servers

 host a file index and support searches submitted from users, relaying back information about

 files that match search terms and the users who are distributing those files. eDonkey also

 supports the use of Distributed Hash Table technology to spread the eDonkey server function

 among ordinary peers, so that the system works even without eDonkey servers.

                               The MarkMonitor System Overview

        27.     I understand that MarkMonitor was retained by the RIAA on behalf of Plaintiff

 recording companies to monitor the BitTorrent, Ares, Gnutella, and eDonkey P2P networks for



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 copying and distribution of specified sound recordings. I further understand that notices sent to

 Cox at issue in this litigation were generated by the MarkMonitor system based on activity it

 observed on the P2P networks.

        28.     My review of the MarkMonitor system included conducting an independent

 analysis of the source code for the software that MarkMonitor used to interact with P2P file

 distribution networks, collect evidence and send notices. I interviewed MarkMonitor personnel

 and reviewed MarkMonitor’s deposition testimony. I also examined data collected and stored by

 MarkMonitor relating to the activities of Cox subscribers and notifications sent to Cox

 concerning these activities, including documents produced electronically in discovery as

 Plaintiffs_00286431, Plaintiffs_00286430, and a collection of           evidence case files.

        29.     Based on my review, the MarkMonitor System is comprised of




        30.




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        31.




        32.




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         33.     Because of the decentralized nature of a P2P network, it is impossible for

  MarkMonitor, or any other P2P user, to track a peer’s activity with other peers. This is true

  because any particular peer can only see the activity it is engaged in, not the activity that is

  occurring between other peers. Only an entity like an ISP, which provides the bandwidth on

  which the distribution takes place, is in a position to potentially track P2P downloading and

  distribution between third parties. It is my understanding that Cox does not



         34.




                                                                Only the ISPs records can determine

  which customer account was using a particular account at a particular time.

                                Audible Magic Technology Overview

         35.     Audible Magic is an acoustic fingerprinting software that was used,




  2
   As described in more detail below, in a few hundred instances out of the hundreds of thousands
  of notices at issue in this litigation, the amount of the content shared by the user was less than
  ninety percent. See infra, ¶ 42.

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         36.     My review of the Audible Magic technology included Audible Magic

  documentation and deposition testimony, an interview with Audible Magic’s Chief Scientist, and

  a review of the Audible Magic source code. In addition, my review included a “test drive” of

  the Audible Magic software. To conduct this review, I used copies of the same files that

  MarkMonitor observed Cox subscribers downloading and/or distributing and that were identified

  in infringement notices to Cox. I obtained those files from a hard drive of files that

  MarkMonitor provided to Plaintiffs, which has been produced in discovery and designated PX

  39. I submitted a small sample of files to Audible Magic and received a positive identification



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  on all of them. Thereafter, I confirmed the accuracy of the identification by listening to the

  submitted file and the identified authentic song available through iTunes.

         37.     In the context of Audible Magic’s technology, a false positive would be defined

  as a case in which Audible Magic incorrectly identifies the sound recording contained in a file.

  In discussions with Audible Magic’s Chief Scientist, my review of Vance Ikezoye’s deposition

  transcript, and review of Audible Magic’s documentation and source code, it appears that this

  false positive rate is exceedingly small and almost non-existent. This makes sense because

  Audible Magic’s technology compares representations of the acoustic characteristics of the

  sound recordings and is configured conservatively to avoid any false positives. Audible Magic

  has indicated that back in 2013-2014 it processed roughly                                    , with

  perhaps one false positive reported per year.

                                       Evidence and Analysis

         38.     In connection with reviewing the MarkMonitor System, I conducted an analysis

  of several bodies of evidence collected during the verification and notice generation process. I

  reviewed a document produced in discovery as Plaintiffs_00286430 in the form of a text file and

  Plaintiffs_00286280 or PX 14, in the form of an Excel spreadsheet. This spreadsheet contains a

  record of         notices sent by MarkMonitor to Cox between January 2, 2012 and March 31,

  2015. I understand this document to be                            kept by MarkMonitor in its

  normal course of business.

         39.     I also reviewed a document produced in discovery as Plaintiffs_00286431, PX 11.

  I understand this document to be




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                             . I understand this document to be                        kept by

  MarkMonitor in its normal course of business.

         40.    I have also reviewed a collection of        evidence packages related to notices

  at issue in this litigation between that were produced as MM000306 and designated PX 33.

  These evidence packages take the form of




         41.    I analyzed the evidence packages produced as MM000306. I observed




         42.    I also analyzed




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        43.   Finally, I conducted an analysis of the




        44.




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         45.




  Executed in Hubbard, Oregon this 29th day of August, 2019




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                                               Curriculum Vitae,
                                       Qualifications, Testimony
                                              Barbara A. Frederiksen-Cross




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           Barbara Frederiksen-Cross
           Curriculum Vitae, Qualifications, Testimony                          Qualifications: 1




           Qualifications

           Education and Experience
           Barbara Frederiksen received her basic education at American public schools and
           completed her High School education at Chemeketa Community College, at the age
           of sixteen.
           She continued her education there, receiving an Associate of Applied Science degree
           in Computer Programming in 1974 at the age of eighteen.
           Since then, she has continued her professional education with technical training
           from IBM, Amdahl, Hitachi Data Systems, Verhoef, SAS Institute, Merrill
           Consultants, Microsoft, and other education providers. This education has included
           advanced training in operating system internals, telecommunication system
           internals, database internals, diagnostics, system performance engineering, storage
           management, capacity planning, and data recovery.
           Ms. Frederiksen has 44 years’ experience in the computer industry and has held
           positions as, in chronological order: mainframe and midrange applications
           programmer; system analyst; software development consultant; programming
           instructor (developing courses in CICS, OS JCL, and VSAM internals); database
           administrator; systems programmer (problem diagnosis, maintenance and
           customization of mainframe operating system software and other software
           products); system performance specialist (for batch, on-line, and database systems);
           regional manager for a software consulting service provider; operating systems
           software developer (developing software to enhance the performance of mainframe
           computing systems); systems programmer (performing hardware planning and
           performance evaluation, system tuning, network tuning, disaster recovery planning,
           and managing data availability policies and procedures); systems programmer
           (responsible for problem resolution, software installation, and system maintenance
           for mainframe and midrange systems); UNIX system administrator; capacity planner
           (monitoring business metrics, sales forecasts, computer system performance,
           directing tuning efforts, and planning upgrades for MVS, AS/400, NCR 3600,
           Teradata, UNISYS, and UNIX systems); and forensic software analyst.
           Ms. Frederiksen was team leader for the storage management/capacity planning
           team of a fortune 100 company for over three years, responsible for software, robotic
           tape libraries, management policies, and automated processes used to backup and
           recover global enterprise computer systems. In this capacity she also developed
           complex mathematical models to analyze and predict computer performance and
           capacity demands for national, regional, and global computer operations.
           Since 1996 Ms. Frederiksen has worked in the field of computer forensics, first as a
           consultant to Johnson-Laird Inc. (“JLI”), of Portland, Oregon and now as the director
           of litigation services for its successor company, JurisLogic, LLC.

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           Barbara Frederiksen-Cross
           Curriculum Vitae, Qualifications, Testimony                            Qualifications: 2


           Ms. Frederiksen has performed forensic software analysis for a variety of clients in
           over 100 civil and criminal matters. These matters include forensic software analysis
           in the context of copyright, patent, and trade secret disputes. She has analyzed
           computer software and source code in the context of over 40 Copyright/Trade Secret
           disputes. Her analysis experience with respect to these matters includes the
           evaluation and comparison of computer source code and object code to detect
           copying and derivative works, identification of third party and open source
           materials, analysis of architectural and other non-literal similarities, and analysis of
           computer source code to determine whether it incorporates or makes use of specific
           trade secrets. Copyright and Trade Secret clients include companies such as
           Caterpillar, Computer Associates, Compuware, FOREX Capital Markets, LexisNexis,
           iGPS, ProvoCraft, Symantec, and Webtrends.
           Ms. Frederiksen has also analyzed computer software, source code, or prior art in
           the context of over 35 patent disputes with respect to both infringement and validity
           analysis. Her analysis experience with respect to these matters includes analysis to
           determine how software functions and whether it practices the specific invention
           claimed in the patent(s) in suit. She is also experienced in the analysis of computer
           software that may constitute prior art for litigated patents and analysis of the
           development history of computer software with respect to on-sale bar issues. Patent
           clients include companies such as Active Video Networks, Connectix Corporation,
           Encyclopaedia Britannica, Grantley Patent Holdings, Herman Miller, Hyundai, In-
           Three, Microsoft, MPI Technologies, Pitney Bowes, Siemens-Rolm, Teknowledge
           Corporation, and University of Pittsburgh.
           Ms. Frederiksen has over 44 years personal experience as a software developer and
           consultant, and is familiar with licensing and contract practices common in the
           software industry as they apply to software consulting agreements, custom
           development, software licensing, and the sale of computer software. In the course of
           her career she has been responsible for negotiating consulting agreements and
           custom software development agreements as both a consultant and as a consumer of
           those services. She has been responsible for negotiating software license agreements
           for a fortune 100 company and also personally as both a licensee and licensor in such
           agreements. She has also developed software products and negotiated contracts for
           their subsequent sale.
           Ms. Frederiksen has specialized knowledge of the analysis and remediation of failed
           software development efforts. She has been involved in software system audits
           performed by the State of Alaska, as well as forensic analysis relating to contractual
           disputes and litigation relating to failed software development efforts, licensing
           disputes, and the deployment and performance of software systems. As a forensic
           analyst, she has analyzed computer software, source code, and related computer-
           based evidence in the context of nine Software Licensing and Software Development
           disputes and three internal investigations relating to due-diligence for software
           acquisitions.
           Ms. Frederiksen also has over five years experience with the oversight and
           evaluation of clean room procedures used for software development. This
           experience includes the development of clean room protocols and clean-room
           oversight, as well as actual experience programming in a clean room environment.

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           Barbara Frederiksen-Cross
           Curriculum Vitae, Qualifications, Testimony                             Qualifications: 3


           In the context of her work for JLI and JurisLogic, Ms. Frederiksen has developed,
           reviewed, and critiqued clean room protocols; prepared educational presentations
           on clean room procedures and protocols for JLI clients; assisted with clean room set-
           up and oversight; and evaluated software that was developed using clean room
           protocols to determine whether it was free of inappropriate materials. She has also
           provided testimony at arbitrations and hearings in the United States and Canada
           relating to clean room development procedures and protocols.
           Ms. Frederiksen has experience in the design, implementation, and ongoing
           administration of databases and multi-dimensional data aggregation systems used
           to support business analysis, performance reporting, cross-system data sharing, and
           ad-hoc decision support queries. She has specific experience with the design,
           programming, tuning, and administration of the hardware, software, and
           underlying database management systems implemented to support batch and on-
           line query and update systems, data warehouses, and data marts. She has developed
           and written application software used to allow users to manipulate and analyze data
           using pre-defined reports and ad-hoc queries as well as software used in the context
           of high-volume real time transaction and messaging systems. This experience
           includes special training from professional organizations such as CMG, and over ten
           years experience in the evaluation, modeling, and tuning of hardware and software
           systems’ performance and capacity.
           She is experienced in the recovery, preservation, and analysis of computer-based
           evidence. Ms. Frederiksen has assisted with discovery and analysis of computer
           software and computer-based evidence relating to large scale product liability
           investigations such as the Vioxx, Propulsid, Rezulin, and Ford/Firestone matters.
           She has also provided forensic analysis in civil and criminal investigations relating to
           unauthorized computer access, sabotage, internet trespass, spyware deployment,
           evidence tampering, and identity theft; as well as analysis performed in the context
           of internal software audits, acquisitions, and internal investigations relating to
           employee conduct.
           Ms. Frederiksen has provided evidence recovery and analysis in criminal cases for
           the FBI and for the defense in State of California v. Saghari. She was a police reserve
           specialist with the Hillsboro Police department 2002-2009, assisting in criminal
           investigations involving computer-based evidence.


           Papers and Presentations
                 “Prognostications on the Response of the Law to Technological Advances” panel
                  participant; Oregon State Bar Emerging Technologies-Charting the Future
                  Course of the Law, Tigard, Oregon, October 12, 2018
                 “Cyber Liability from the Trenches: A Front Line Perspective” (co-authored with
                  Melissa Ventrone of Wilson Elser) Oregon State Bar Navigating the Pitfalls of
                  an Online Business Presence-What Your Clients Need to Know, Tigard,
                  Oregon, September 27, 2013
                 “Drones – A Culture of Fear” District Of Oregon Conference Innovations in the
                  Law: Science and Technology (joint effort of the US Court for the District of

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           Barbara Frederiksen-Cross
           Curriculum Vitae, Qualifications, Testimony                            Qualifications: 4


                  Oregon and the Oregon chapter of the Federal Bar Association), Portland,
                  Oregon, September 20, 2013
                 “How Development Advances Put Security in Retreat” NW ISSA Security
                  Conference, Portland, Oregon, May 2, 2013
                 “Women in Computing” Washington State University, Vancouver campus,
                  Vancouver, Washington, March 28, 2011
                 “Open Source Issues in Mergers & Acquisitions” (co-authored with Katherine C.
                  Spelman, Esq.) Open Source & Security Cincinnati Intellectual Property Law
                  Association (OSS3); Erlanger, Kentucky, October 27, 2011
                 “Reverse Engineering: Vulnerabilities and Solutions” (co-authored with Susan
                  Courtney) Pacific Northwest Software Quality Conference, Portland, Oregon,
                  October 11, 2011
                 “Basic Computer Forensics (a lesson in modern Geek)” Santa Clara Public
                  Defenders’ Office, San Jose, California, October 26, 2010
                 “Quality Pedigree Programs: Or How to Mitigate Risk and Cover Your Assets” (co-
                  authored with Marc Visnick and Susan Courtney) Pacific Northwest Software
                  Quality Conference, Portland, Oregon, October 18, 2010
                 “Third Party Code Beware the Trojan Source!” co-authored with Katherine C.
                  Spelman, Esq., American Bar Association Section of Intellectual Property Law
                  Landslide® Magazine, “in press”
                 “Finding the Snipers and Preserving the Evidence” Oregon State Bar, Computer
                  & Internet Law Section, Portland, Oregon, September 17, 2010
                 “Challenges in Corporate Forensics – Why Isn’t Bigger Better?” panel participant
                  Digital Forensic Research Workshop (DFRWS), Portland, Oregon, August,
                  2010
                 “Beware of Geeks Bearing Gifts, Beware The Trojan Source!” (co-authored with
                  Kate Spelman, Esq.) University of Dayton School of Law: Significant
                  Developments in the Intellectual Property Law of Computers and
                  Cyberspace Conference, Dayton, Ohio, June 11, 2010
                 “Hack to the Future” NW ISSA Security Conference, Portland, Oregon, May 6,
                  2010
                 “e-Discovery: Size Matters” Oregon State Bar, Computer & Internet Law
                  Section meeting, Portland, Oregon, February 23, 2010
                 “Software Pedigree Analysis: Trust But Verify” (co-authored with Marc Visnick
                  and Susan Courtney) Pacific Northwest Software Quality Conference,
                  Portland, Oregon, October 28, 2009
                 “e-Discovery: Size Matters” University of Dayton School of Law: Significant
                  Developments in the Intellectual Property Law of Computers and
                  Cyberspace Conference, Dayton, Ohio, June 12, 2009



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                 “The Digital Detective: Looking for Evidence on Electronic Devices” Portland State
                  University, Mathematics Engineering Science Achievement (MESA)
                  Conference, Portland, Oregon, April 11, 2009
                 “Computer Forensics in Civil Litigation” Washington State University
                  Vancouver, School of Engineering & Computer Science, Vancouver,
                  Washington, April 7, 2009
                 “Discovering Electronic Evidence” Tulane University Law School, New Orleans,
                  Louisiana, March 18, 2009
                 “E-Discovery: A Survival Guide” Tulane University Law School, New Orleans,
                  Louisiana, March 16, 2009
                 “New Technology, New Challenges” University of Dayton School of Law:
                  Significant Developments In Computer & Cyberspace Law Convention,
                  Dayton, Ohio, June 6, 2008
                 “Electronic Forensics - Today and Tomorrow “ Washington State University
                  Vancouver, School of Engineering & Computer Science, Vancouver,
                  Washington, April 1, 2008
                 Will Peer-to-Peer Disappear? The Berglund Center for Internet Studies at
                  Pacific University of Oregon, Forest Grove, Oregon, February 19, 2008
                 “Computer Forensics” panel participant Portland Society for Information
                  Management, Portland, Oregon, November 14, 2007
                 “Tuned In, Turned On, Spaced Out: How Technology is Changing Our
                  Communities and Shaping Our Future” panel participant Hillsboro Town Hall
                  (Pacific Institute for Ethics and Social Policy), Hillsboro, Oregon, October 25,
                  2007
                 “Basic Computer Forensics (a lesson in modern Geek)” Santa Clara Public
                  Defenders’ Office, San Jose, California, October 23, 2007
                 “Obtaining & Using Electronic Evidence” panel participant 2007 National
                  Employment Lawyers Association (NELA) Eighteenth Annual Convention,
                  San Juan, Puerto Rico; June 27-30, 2007
                 “Where Are We Allowing Technology to Lead Us?” University of Dayton School
                  of Law Significant Developments In Computer & Cyberspace Law
                  Convention, Dayton, Ohio, June 8, 2007
                 “Where Are We Allowing Technology to Lead Us?” Computer Related
                  Investigations, Management, and Education (CRIME), Hillsboro, Oregon,
                  May 16, 2007
                 “Where Are We Allowing Technology to Lead Us?” Keynote Address,
                  International Technology Law Association Annual Meeting & World
                  Conference, Chicago, IL; April 26-27, 2007
                 “The Law Firm’s E-Data: A Risk Management Nightmare?” panel participant
                  2007 Legal Malpractice & Risk Management Conference, Chicago, IL; March
                  6-9, 2007

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                 “Computers and Disaster Planning: What Can We Learn from Katrina and SARS?”
                  Cutting Edge Issues in Technology Law, Seattle, WA, December 7-8, 2006
                 “Phishing, Pharming, & Wholesale Data Harvesting” University of Dayton
                  School of Law Significant Developments In Computer & Cyberspace Law
                  Convention, Dayton, Ohio, June 9, 2006
                 “Lessons Learned From Katrina, SARS, and Other Disasters” University of
                  Dayton School of Law Significant Developments In Computer & Cyberspace
                  Law Convention, Dayton, Ohio, June 9, 2006
                 “e-Discovery and the Proposed Federal Rules of Civil Procedure (FRCP) Changes -
                  How Safe Is The Safe Harbor?” Cooley Godward LLP, San Diego, California,
                  March 2, 2006
                 “Proposed Changes To Rule 26: A New Game?”, Oregon State Bar, Business
                  Litigation Continuing Legal Education, Portland, Oregon, November 9, 2005
                 “A View from the Witness Stand,” Computer Related Investigations,
                  Management, and Education (CRIME), Portland, Oregon, September 7, 2005
                 “The Technology of Electronic Discovery” Tulane Law School, New Orleans,
                  Louisiana, April 20, 2004
                 “Preserving Documents and Data”, Association of Trial Lawyers of America,
                  Case Management and Electronic Discovery in Pharmaceutical Litigation,
                  Dallas, Texas, March 7–8, 2003
                 “Documents, Databases, Discovery and the Damned”, University of Kentucky
                  College of Law 4th Annual Computer & Technology Law Institute, Lexington,
                  Kentucky, November 1-2, 2002
                 “Forensic Software Analysis (electronic discovery)”, Louisiana State Bar
                  Association – Mass Torts Symposium, New Orleans, Louisiana, October 25,
                  2002
                 “eDiscovery – The Role of an Expert”, Computer Related Investigations,
                  Management, and Education (CRIME), Portland, Oregon, October 8, 2002
                 “Working with Experts” (panel member), Computer Law Association,
                  Orlando, Florida, October 3, 2002
                 “Efficient Discovery Through the Use of Technology” Association of Trial
                  Lawyers of America (ABTL), Atlanta, Georgia, July 20-24, 2002
                 “The Technology of Discovery Issues” University of Dayton School of Law
                  Advanced Computer and Cyberspace Law Convention, Dayton, Ohio, June 7,
                  2002
                 “Beyond Common Experience - Persuading the Jury with Expert Testimony Mini-
                  Seminar” panel participant and software expert, Association of Business Trial
                  Lawyers (ABTL), San Diego, California, May 11, 2002




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                 “Computer Searches and Seizures: Some Unresolved Issues,” 8 Mich. Telecomm.
                  Tech. L. Rev. 1 (2002), Susan W. Brenner and Barbara Frederiksen, available
                  at http://www.mttlr.org/voleight/Brenner.html
                 “Information Technology Basics” Sixth Annual CyberSpace Camp Conference,
                  San Jose, California, February 14-16, 2002
                 “Emerging Issues in CyberSpace: Regulations without Borders and Borders without
                  Regulations” University of Calgary Faculty of Law, Alberta, Canada, February
                  6, 2002
                 “Evidence in the Age of Electrons” Guest Lecturer, Professor Davis's Internet
                  Litigation LLM course, Santa Clara University School of Law, Santa Clara,
                  California, November 17, 2001
                 “Tunnel Blindness: Insecurity and the Internet” Oregon State Bar Continuing
                  Legal Education Computer Law in the New… new Economy, Portland,
                  Oregon, November 2, 2001
                 “Forensic Software Analysis: Smoking Guns and Spinning Disks Redux” Louisiana
                  State Bar Class Action/Mass Torts Symposium 2001, New Orleans,
                  Louisiana, October 26, 2001
                 “Beyond Common Experience - Persuading the Jury with Expert Testimony” panel
                  participant and software expert, Association of Business Trial Lawyers
                  (ABTL), LaQuinta, California, October 12-14, 2001
                 “Tools and Techniques for Forensic Analysis.” 2001 Federal Public Defenders
                  Computer Systems Administrator Conference, San Diego, California, June 12,
                  2001
                 “Technologies for Data Collection and Snooping.” University of Dayton School of
                  Law Computer and Cyberspace Law Convention, Dayton, Ohio, June 8, 2001
                 “New Technologies and the Legal Issues They Raise.” University of Dayton
                  School of Law Computer and Cyberspace Law Convention, Dayton, Ohio,
                  June 8, 2001
                 “Records Retention, Privacy, and the Age of Electrons.” Financial Women’s
                  Association, Silicon Valley Conference, San Francisco, California, March 2001
                 “Managing The Mountain -- Strategies For Computer Based Evidence.” Clifford
                  Chance, In-house conference, London, England, March 2001
                 “Managing The Mountain -- Strategies For Computer Based Evidence.” The
                  Computer Law Association European CyberSpaceCamp Conference,
                  Amsterdam, the Netherlands, March, 2001
                 “What You Need to Know About Domain Names: Introduction and
                  Overview.” Domain Name Protection, Litigation & Management Summit,
                  San Francisco, California, February 2001
                 “Computer Based Evidence: Strategies To Manage The Mountain” Herman
                  Middleton, New Orleans, January 2001


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                 ALI-ABA Trial Of A Software Patent Case: Panel participant and software
                  expert presenting video taped testimony for the mock trial. Chicago, Illinois,
                  September 2000
                 “The ABCs of CBE (Computer-Based Evidence).” Oregon Criminal Defense
                  Lawyers Association, Bend, Oregon, June 2000
                 “New Technologies: New Challenges for the Law” (Paper co-authored with Andy
                  Johnson-Laird, William R. Trost), Dayton Law Journal, June, 2000
                 “Computers and the Law: Collaboration or Collision?” (Paper co-authored with
                  Andy Johnson-Laird, William R. Trost), The Second Annual Symposium On
                  Information Technology And Cyberspace Law, May, 2000 (Osgoode Hall
                  Law School of York University, Toronto, Canada)
                 “Electronic Evidence (Too Much of A Good Thing?)” Santa Clara County Bar
                  Association, May, 2000 (CLE)
                 “Bringing Your Story Home: Technology In The Courtroom” Willamette
                  University College Of Law, May 2000
                 “Computer Based Evidence – The ABCs of CBE” Willamette University College
                  of Law, April, 2000
                 “Making Sense of Electronic Evidence” Conference For Federal Defender
                  Administrators And Computer Systems Administrators, April, 2000
                 FJC Mini Conference on Discovery of Computerized Information, Hastings
                  College Of Law, March, 2000
                 “Techno-Archeology™ - The Analysis of Failed Software Development” Lane
                  Powell Spears Lubersky, November, 1999 (CLE)
                 “Y2K Incoming! – Preserving Evidence For The Inevitable” Oregon State Bar,
                  Computer Law Section, November, 1999 (CLE)
                 “The Preservation and Analysis of Computer-based Evidence,” Powell, Goldstein,
                  Frazer & Murphy, August, 1999 (CLE)
                 “Forensic Software Analysis: Preservation Discovery and Analysis of Computer-
                  based Evidence,” Computer Related Investigations, Management, and
                  Education (CRIME), April 13, 1999
                 “Forensic Software Analysis: The Preservation and Analysis of Computer-based
                  Evidence,” Miller, Nash, Wiener, Hager & Carlsen, February, 1999
                 “A Silent Chorus – The Relevance of Electronic Evidence,” Willamette University
                  College of Law, Internet Law Caucus, November 1998




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           Expert Testimony
           Court Appointed Expert
           Court Data System Advisor to the Honorable Marvin J. Garbis, in the U.S. District
           Court for the District of Maryland, in the matter of Vaughn G., et al. v. Walter G.
           Amprey, et al., Civil Action No. MJG-84-1911.

           Trial Testimony
                 Admitted as an expert in forensic software analysis, software design, and
                  reverse engineering in the US District Court for the Eastern District of New
                  York, Point 4 Data Corporation and Dynamic Concepts Inc. v. Tri-State Surgical
                  Supply & Equipment Ltd., SJ Computers, Inc. and Shmuel Judkovitz; Case No. 11-
                  cv-0726 (RJD); August 2018 (Engaged by plaintiffs for software analysis).
                 Admitted as an expert in the areas of computer forensics and source code
                  analysis in the US District Court for the Northern District of Texas Dallas
                  Division, Zenimax Media Inc. and ID Software LLC v. Oculus VR, LLC, Palmer
                  Luckey, and Facebook, Inc., Case No. 3:14-cv-1849-K; January 2017 (Engaged by
                  Oculus (defendant) for software analysis in the context of a copyright suit).
                 Admitted as an expert in the areas of forensic software analysis and software
                  design, development and programming in the US District Court for the
                  District of Puerto Rico, Puerto Rico Treasury Department v. OPG Technology
                  Corp., et al., Case No. 3:15-cv-03125 (JAG) August 2016 (Engaged by OPG
                  Technology Corp (defendant) for software analysis in the context of a
                  copyright suit).
                 Admitted as an expert in computer programming and computer forensics in
                  the US District Court for the Eastern District of Virginia, BMG Rights
                  Management (US) LLC, and Round Hill Music LP v. Cox Enterprises, Inc., Cox
                  Communications, Inc., Coxcom, LLC, Case No. 1:14-cv-1611 (LOG/JFA)
                  December 2015 (Engaged by BMG Rights Management (plaintiff) for source
                  code related analysis in the context of a copyright suit.)
                 Admitted as an expert in software investigation in the US District Court for
                  the Northern District of California San Francisco Division, Fujifilm Corporation
                  v. Motorola Mobility LLC, Case No. C12-03587 RS; April 2015 (Engaged by
                  Fujifilm (plaintiff) Corporation for source code analysis related to accused
                  software in the context of a patent infringement suit)
                 Admitted as an expert in computer science, source code, and software
                  development in the US District Court for the District of Delaware, Finjan, Inc
                  v. Symantec Corp., Webroot Software, Inc. Websense, Inc. and Sophos, Inc., Civil
                  Action No. 10-593-GMS; December 2013. (Engaged by Websense, Inc. for
                  source code analysis related to accused software in the context of a patent
                  infringement suit.)




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                 Admitted as an expert to provide testimony about video data in the District
                  Court of Bexar County, Texas, 407th Judicial District, Karen D. Griffin,
                  individually and Virginia L. Brunner, as next of friend of Karen D. Griffin v. Union
                  Pacific Railroad Company, Kenneth Piper and Gary Anderson, Cause No. 2010-
                  CI08523; March 2012 (Engaged by the plaintiff, discovery issues and analysis
                  relating to analysis of electronic Track Image Recorder Video files.)
                 Admitted as an expert in computer software in the US District Court for the
                  Eastern District of Virginia, Norfolk Division, ActiveVideo Networks, Inc. v.
                  Verizon Communications, Inc. Verizon Services Corp., Verizon Virginia, Inc. and
                  Verizon South, Inc., Civil Action No. 2:10-cv-248; July 2011. (Engaged by
                  ActiveVideo Networks for source code analysis related to accused devices in
                  the context of a patent infringement suit.)
                 Admitted as an expert in software engineering in the U.S. District Court for
                  the Eastern District of Texas, Tyler Division, Clear With Computers, LLC. v.
                  Hyundai Motor America, Inc., Case No. 6:09-cv-479 LED; June 2011. (Engaged
                  by Hyundai Motor America, Inc. for invalidity analysis in the context of a
                  patent infringement suit.)
                 Admitted as an expert in computer based evidence in The People of the State of
                  California v. Jason Cai, Superior Court of the State of California, for the County
                  of Santa Clara, Case No. CC810427; July 2010. (Engaged by counsel for
                  defendant in a homicide matter)
                 Bill Fraser, Soo Min Fay, Doug Frosch, George Marshall, Cal Mitchell, Jim Rubino,
                  Tim Shea, John Sullivan, and Steve Munson v. Valley Energy Investment Fund
                  U.S., L.P., Vulcan Investment Holdings, LLC, Denham Commodity Partners Fund
                  V LP, Denham Capital Management L.P., Merrill Lynch Commodity Partners, LLC,
                  Scott Mackin, David Owens, Rod Wimer, Robert Warburton, Todd Bright, Robert
                  Jones, and Vulcan Power Company, Circuit Court for the State of Oregon, Lane
                  County, Case No. 160826841; June 2010. (Engaged by Plaintiffs to assess
                  whether discovery costs incurred by Defendants were reasonable in the
                  context of case fact pattern.)
                 Admitted as expert in evidentiary hearing In the Circuit Court of the 11th
                  Judicial Circuit, In and For Miami-Dade County, Florida, General Jurisdiction
                  Division, Jarrell Cannon a minor by and through his mother and natural guardian,
                  Alicia Lott, and Alicia Lott, individually v. Ford Motor Company, and Hazel
                  Edgecomb, Case No. 05-21648 CA20; May 2009 (Engaged by plaintiffs in the
                  context of technical issues in discovery)
                 Admitted as an expert in the District Court of Tarrant County, Texas,
                  discovery hearing, Estate of Dwayne Freeto, et al. v. Ford Motor Company and
                  Scott Hilburn, Case No. 348-233429-08; March 2010. (Engaged by the Estate of
                  Dwayne Freeto, et al., discovery issues and analysis relating to electronic
                  data.)
                 CollegeNet, Inc. v. XAP Corporation, U.S. District Court for the District of
                  Oregon, Case No. 03-1229-BR; June 2008 (Engaged by XAP Corporation,
                  analysis of inequitable conduct during patent prosecution.)

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                 Admitted as an expert on software analysis in Grantley Patent Holdings, Ltd. v.
                  Clear Channel Communications, Inc., et al., Case No. 9:06cv259; April, 2008
                  (Engaged by Grantley Patent Holdings, Ltd., patent infringement/validity.)
                 Markman hearing in Grantley Patent Holdings, Ltd. v. Clear Channel
                  Communications, Inc., et al., Case No. 9:06cv259; October 2007 (Engaged by
                  Grantley Patent Holdings, Ltd.)
                 Admitted as a software expert in Ricoh Corporation and Ricoh Company, Ltd. v.
                  Pitney Bowes, Inc., Case No. 02-5639 (GEB); November 2006 (Engaged by
                  Pitney Bowes Inc., patent infringement/validity.)
                 Admitted as an expert on software analysis CollegeNet, Inc. v. XAP
                  Corporation, U.S. District Court for the District of Oregon, Case No. 03-1229-
                  BR; September 2006 (Engaged by XAP Corporation, patent
                  infringement/validity.)
                 Admitted as an expert on computer software development, clean room
                  procedures, and database in HotSamba, Inc. v. Caterpillar, Inc., U.S. District
                  Court Northern District of Illinois Eastern Division, Case No. 01-C-5540,
                  September 2006 (Engaged by Caterpillar Inc., copyright/licensing
                  dispute/breach of contract.)
                 Admitted as an expert on software development and the recover and analysis
                  of computer based evidence in Compuware Corporation v. International Business
                  Machines Corp., United States District Court for the Eastern District of
                  Michigan, Case No. 02-70906, March, 2005 (Engaged by Compuware
                  Corporation to perform analysis of computer based evidence relating to
                  copyright/trade secret issues.)
                 Admitted as an expert on the analysis of computer based evidence in Norman
                  B. Feaster et al. v. CSX Transportation, Inc., Franklin County Circuit Court Case
                  No. 10,913-CV, November 2002 (Engaged by Norman B. Feaster, et al,
                  railroad case involving analysis of locomotive event recorder data.)
                 Admitted as an expert on recovery and analysis of computer based evidence
                  in Bridgestone/Firestone, Inc., ATX, ATX II, and Wilderness Tires, Products
                  Liability Litigation, United States District Court Southern District of Indiana
                  Indianapolis Division Court Case No. IP00-9373-C-B/S MDL No. 1373,
                  February 2002 (Engaged by Plaintiffs’ Litigation Committee, discovery issues
                  and analysis relating to electronic data.)
                 Admitted as an expert on computer software and the analysis of computer
                  based evidence in United States of America v. Santee Sioux Tribe of Nebraska,
                  United States District Court for the District of Nebraska, Case No. 8:96CV367,
                  October, 2001 (Engaged by Santee Sioux Tribe of Nebraska, analysis relating
                  to the software used for operation of computer controlled gaming devices.)
                 Admitted as an expert on recovery and analysis of computer based evidence
                  in Tim O’Neil v. Levi Strauss and Company et al, Superior Court of California,
                  Case No. 221466, February, 2001 (Engaged by Levi Strauss and Company,
                  recover and analyze computer based evidence.)

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                 Admitted as an expert on recovery and analysis of computer based evidence
                  in State of California v. Bahram Saghari, Superior Court of California, Case No.
                  205525, February, 2000. (Engaged by Bahram Saghari, recover and analyze
                  computer source code and computer based evidence)
                 Admitted as an expert on computer software development in Novinger v.
                  TRW et al., U.S. District Court for the District of Oregon, Case No. CV96-286-
                  JE, July, 1998. (Engaged by Novinger, to review software and data
                  management practices relating to an identity theft case)



           Arbitration Testimony
                 Judicial Arbitration and Mediation Services, Inc. (JAMS), Chrome Systems, Inc.
                  v. Autodata Solutions, Inc., et al. (Case No. 11808-VCG), JAMS Reference No.
                  1340012931; September 2016 (Engaged by Autodata Solutions (defendant) for
                  copyright dispute)
                 In the Matter of the Companies’ Creditors Arrangement Act, R.S.C. 1985, c.C.36, as
                  Amended And in the Matter of a Plan or Arrangement of Nortel Networks
                  Corporation, Nortel Networks Limited, Nortel Networks Global Corporation and
                  Nortel Networks Technology Corporation, (discovery hearing ordered by)
                  Ontario Superior Court of Justice, Court File No. 09-CL-7950 (Engaged by
                  SNMP Research International and SNMP Research, Inc. for analysis of
                  technical materials and discovery issues)
                 Judicial Arbitration and Mediation Services, Inc. (JAMS), The Clearing
                  Corporation v. The Chicago Merchantile Exchange, Inc., Case No. 06CH10553,
                  April 2008 (Engaged by The Clearing Corporation relating to breach of
                  license/copyright dispute.)
                 Judicial Arbitration and Mediation Services, Inc. (JAMS), Polimaster Ltd and
                  NA&SE Trading Co., Limited and RAE Systems, Inc., Case No. 1110009296,
                  March 2007 (Engaged by RAE Systems, Inc. to analyze software relating to
                  copyright, trade secret, and reverse engineering allegations.)
                 International Commercial Arbitration Act, MPI Technologies, Inc., and Xerox
                  Canada, Ltd and Xerox Corporation, January 2005 (Engaged by MPI
                  Technologies to analyze computer software and evidence relating to a breach
                  of license/copyright dispute.)
                 American Arbitration Association, Bionic Buffalo Corporation v. Integrated
                  Systems, Inc. and WindRiver Systems, Inc., Case No. 79 117 0011299, February
                  2002. (Engaged by Integrated Systems, Inc. to analyze computer software and
                  evidence relating to a breach of contract/copyright dispute.)
                 American Arbitration Association, Rollins, Inc., v. ALE Systems, Case No.
                  AAA30 181 00081 98, June, 1999 and August 1999. (Engaged by Rollins, Inc.,
                  to analyze computer software and evidence relating to a breach of
                  contract/failed software development dispute.)


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           Deposition Testimony
                 US District Court for the Western District of Texas, Austin Division; UMG
                  Recordings, Inc., et al. v. Grande Communications Networks LLC and Patriot Media
                  Consulting, LLC; Case No. 1:17-cv-00365; October 2018
                 US District Court District of Nevada, Rimini Street, Inc. v. Oracle International
                  Corporation; Oracle America Inc., Oracle International Corporation v. Rimini Street,
                  Inc., Seth Ravin; Case No. 2:14-cv-01699-LDG-VCF; September 2018
                 US District Court Northern District of California, Foresee Results, Inc., Answers
                  Corporation v. Auryc, Inc., Auryc LLC, Jinlin Wang, Feng Shao, Amod Setlur and
                  Does 1 through 20; Case No. 3:17-cv-06973-RS; September 2018
                 U.S. District Court Southern District of New York, RELX, Inc. v. Informatica
                  Corp, Case No. 1:16-cv-9718-AKH; June 2018
                 In the Circuit Court of the 17th Judicial Circuit in and for Broward County,
                  Florida, Complex Business Division, Flexible Business Systems, Inc. v. Seacor
                  Island Lines LLC and Seacor Holdings Inc.; Case No. 15-006350 CACE (07);
                  February 2018
                 US Bankruptcy Court for the District of Delaware, In re Nortel Networks, Inc.,
                  Bankr Case No. 09-10138(KG); SNMP Research International, Inc., and SNMP
                  Research, Inc. vs. Nortel Networks, Inc., et al. and Avaya, Inc.; Case Adv Proc. No.
                  11-53454(KG); February 2017
                 US District Court for the District of Delaware, Avaya, Inc. v. SNMP Research
                  Inc., Case No. 12-191-RGA; January 2016
                 US District Court for the Southern District of California, Anthony Johnson v.
                  Storix, Inc., Case No. 14-CV-1873-H-BLM; October 2015
                 US District Court for the Eastern District of Virginia, BMG Rights
                  Management(US) LLC, and Round Hill Music LP v. Cox Enterprises, Inc., Cox
                  Communications, Inc., CoxCom, LLC, Case No. 1:14-cv-1611(LOG/JFA); August
                  2015
                 US District Court for the Northern District of California San Francisco
                  Division, Fujifilm Corporation v. Motorola Mobility LLC, Case No. C12-03587
                  RS; November 2014
                 US District Court for the Eastern District of New York; Point 4 Data
                  Corporation and Dynamic Concepts, Inc. v. Tri-State Surgical Supply & Equipment,
                  Ltd., SJ Computers, Inc., and Shmuel Judkovitz, Case No. 11 CV 0726 (RJD); June
                  2012
                 US District Court for the District of Delaware; Finjan, Inc. v. McAfee, Inc.,
                  Symantec Corp., Webroot Software, Inc., Websense Inc., and Sophos, Inc.,
                  Case No. 10-593-GMS; June 2012 (Engaged by defendant Websense Inc.;
                  patent infringement)


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                 US District Court for the Eastern District of Louisiana; Sean Bowie v. The New
                  Orleans Public Belt Railroad Commission, d/b/a New Orleans Public Belt Railroad
                  Company, Case No. 11-00755; June 2012
                 US District Court for the Central District of California, Southern Division;
                  Bryan Pringle v. William Adams, Jr., et al., Case No. SACV10-1656 JST (RZx);
                  January 2012 (Engaged by plaintiff to address issues related to spoliation and
                  copyright infringement allegations)
                 In the District Court of Bexar County, Texas, 407th Judicial District; Karen
                  Griffin v. Union Pacific Railroad Company, et al., Cause No. 2010-CI08523;
                  December 2011 (Engaged by plaintiffs in the context of a railroad case
                  requiring analysis of TIR (Track Image Recorder) video)
                 US District Court for the Western District of Pennsylvania, University of
                  Pittsburgh of the Commonwealth System of Higher Education dba University of
                  Pittsburgh v. Varian Medical Systems, Inc.; Case No. 2:08-cv-01307, September
                  2011 (Engaged by University of Pittsburgh; patent infringement)
                 US District Court for the Eastern District of Virginia, Norfolk Division,
                  ActiveVideo Networks, Inc. v. Verizon Communications, Inc., Verizon Services
                  Corp., Verizon Virginia, Inc., and Verizon South Inc.; Case No. 2:10-cv-248-RAJ-
                  FBS, June 2011 (Engaged by ActiveVideo Networks, Inc. ; patent
                  infringement)
                 U.S. District Court for the Eastern District of Texas, Tyler Division, Clear With
                  Computers, LLC. v. Hyundai Motor America, Inc., Case No. 6:09-cv-479 LED,
                  April 2011 (Engaged by Hyundai Motor America, Inc.; patent infringement
                  suit.)
                 In the Circuit Court of the 11th Judicial Circuit, In and For Miami-Dade
                  County, Florida, General Jurisdiction Division, Jarrell Cannon a minor by and
                  through his mother and natural guardian, Alicia Lott, and Alicia Lott, individually
                  v. Ford Motor Company, and Hazel Edgecomb, Case No. 05-21648 CA20, March
                  2011 (Engaged by plaintiffs in the context of technical issues in discovery)
                 U.S. District Court for the Eastern District of Texas, Tyler Division, Clear With
                  Computers, LLC. v. Hyundai Motor America, Inc., Case No. 6:09-cv-479 LED,
                  March 2011 (Engaged by Hyundai Motor America, Inc. patent infringement
                  suit.)
                 In the Circuit Court of Cook County, Illinois, County Department-Chancery
                  Division, Citadel Investment Group, v. Teza Technologies, LLC, et al., Case No. 09
                  CH 22478, July 2010. (Engaged by Teza Technologies to verify effectiveness of
                  clean room protocol.)
                 U.S. District Court for the District of Oregon, CollegeNet, Inc. v. XAP
                  Corporation, Case No. 03-1229-BR, April 2008. (Engaged by XAP Corporation,
                  to analyze computer software in the context of a patent infringement suit.)
                 U.S. District Court for the Western District of Wisconsin, Extreme Networks,
                  Inc. v. Enterasys, Inc., Case No. 07-C-0229-C, February 2008. (Engaged by
                  Enterasys, Inc., patent infringement.)

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                 U.S. District Court for the Eastern District of Texas, Lufkin Division, Grantley
                  Patent Holdings, Ltd. v. Clear Channel Communications, Inc., et al; Case No.
                  9:06cv259, February 2008 (Engaged by Grantley Patent Holdings, Ltd., patent
                  infringement.)
                 U.S. District Court for the Western District of Wisconsin, Extreme Networks,
                  Inc. v. Enterasys, Inc., Case No. 07-C-0229-C, January 2008. (Engaged by
                  Enterasys, Inc., patent infringement.)
                 U.S. District Court Northern District of California San Jose Division, Creative
                  Science Systems, Inc. v. Forex Capital Markets LLC and REFCO Group Ltd., LLC,
                  Case No. C04-03746 JF (RS), September 2006. (Engaged by Forex Capital
                  Markets to perform analysis in the context of a software licensing dispute.)
                 U.S. District Court Northern District of Minnesota, Ricoh Corporation and Ricoh
                  Company, Ltd. v. Pitney Bowes, Inc., Case No. 02-5639 (GEB), August 2006.
                  (Engaged by Pitney Bowes Inc., patent infringement.)
                 U.S. District Court Northern District of Illinois Eastern Division, HotSamba,
                  Inc. v. Caterpillar, Inc., Case No. 01-C-5540, July 2006. (Engaged by Caterpillar
                  Inc.)
                 U.S. District Court for the District of Oregon, CollegeNet, Inc. v. XAP
                  Corporation, Case No. 03-1229-BR, March 2006. (Engaged by XAP
                  Corporation, to analyze computer software in the context of a patent
                  infringement suit.)
                 U.S. District Court Northern District of California San Jose Division, Creative
                  Science Systems, Inc. v. Forex Capital Markets LLC and REFCO Group Ltd., LLC,
                  Case No. C04-03746 JF (RS), March 2006. (Engaged by Forex Capital Markets
                  to perform analysis in the context of a software licensing/copyright dispute.)
                 U.S. District Court Central District of California Western Division, Imax
                  Corporation and Three-Dimensional Media Group, Ltd. V. In-Three, Inc., Case No.
                  CV-05-1795 (Mcx), August 2005. (Engaged by In-Three, Inc., to perform
                  analysis of computer software relating to patent validity and prior art.)
                 Superior Court of the State of California, County of San Diego, Del Mar
                  Datatrac, Inc. v. ProLender Solutions, Inc., et al., Case No. GIC 817717, June 2004
                  (Engaged by Del Mar Datatrac, to analyze computer software in the context
                  of a trade secret/copyright case and oversight of subsequent software
                  production to verify effectiveness of clean room procedures used during
                  remediation.)
                 U.S. District Court Northern District of California Oakland Division,
                  Compuware Corporation v. International Business Machines, Case No. 02-70906,
                  May 2003, June 2003, June 2004, and January 2005. (Engaged by Compuware
                  Corporation to perform analysis of computer software and software
                  development efforts in the context of a copyright/trade secret dispute.)
                 U.S. District Court Northern District of California Oakland Division, VMware,
                  Inc. v. Connectix Corporation and Microsoft Corporation, Case C03 00654 CW,


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                  April 2003. (Engaged by Connectix Corporation, to perform analysis of
                  computer software and potential prior art in the context of a patent dispute.)
                 U.S. District Court for the Eastern District of Virginia, Alexandria Division,
                  Washington Post. Newsweek Interactive Company, LLC., et al v. The Gator
                  Corporation, Case No. 02-909-A, December 2002. (Engaged by The Gator
                  Corporation for analysis of computer software and computer-based evidence
                  relating to a dispute involving pop-up advertisements.)
                 Franklin County Circuit Court, Norman B. Feaster et al. v. CSX Transportation,
                  Inc., et al., Franklin County Circuit Court Case No. 10,913-CV, November
                  2002. (Engaged by Norman B. Feaster, et al. in the context of a railroad case
                  requiring analysis of locomotive event recorder data.)
                 The Superior Court Of The State Of California, Tim O’Neil v. Levi Strauss and
                  Company, Earnest “Hap” Wheale, Katy Basile, Ruth Meyler, and DOES 1 through
                  100, Case No. 305531, January 2001. (Engaged by Levi Strauss and Company,
                  recover and analyze computer based evidence.)
                 U.S. District Court for the Northern District of Illinois, Eastern Division,
                  Chris-Craft Industrial Products, Inc. v. Kuraray Company, Ltd., Kuraray America,
                  Inc. Cast Film Technology, Inc. and James R. Rossman, Case No. 98 CV 7298.
                  (Engaged by Chris-Craft to recover and analyze data related to trade secret
                  misappropriation.)
                 U.S. District Court for the District of Oregon, Novinger v. TRW, Case No.
                  CV96-286-JE. (Engaged by Novinger, to analyze computer software and data
                  management practices relating to an identity theft case.)




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